                                                                Case 2:18-cr-00144-JAD-EJY Document 265
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                                                            1                              UNITED STATES DISTRICT COURT

                                                            2                                    DISTRICT OF NEVADA

                                                            3     UNITED STATES OF AMERICA,                      CASE NO.: 2:18-CR-00144-JAD-EJY
                                                            4                     Plaintiff;
                                                                                                                 ORDER
                                                            5          vs.
                                                                                                                      ECF No. 264
                                                            6     PHILLIP SHIEL
                                                            7                     Defendant.
                                                            8

                                                            9          Based on the stipulation of the parties and for good cause, Petitioner/Defendant Phillip

                                                           10   Shiel is GRANTED leave to file his Reply on October 16, 2020.

                                                           11
1070 W. HORIZON RIDGE PKWY., SUITE 202




                                                           12
  KATHLEEN BLISS LAW PLLC




                                                                Dated this ___ day of October 2020
                                                           13
      HENDERSON, NEVADA 89012
                                    TEL – (702) 463.9074




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                                                                DATED: _________________________
                                                                       10/16/2020

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                                                           21                                              THE HONORABLE JENNIFER A. DORSEY
                                                                                                           UNITED STATES DISTRICT JUDGE
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